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                                                                             2017 Jun-29 PM 02:13
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         EASTERN DIVISION
DALLAS WELDON,                          )
                                        )
      Plaintiff,                        )
                                        )
v.                                      )   Case No.: 1:17-cv-00501-SGC
                                        )
NATCH'S, LLC,                           )
                                        )
      Defendant.                        )

                           ORDER OF DISMISSAL
      On June 29, 2017, a joint stipulation of dismissal was filed, signed by all

parties to the above-captioned matter. (Doc. 11). Accordingly, this matter is

DISMISSED WITH PREJUDICE, each party to bear its own costs. FED. R. CIV.

P. 41(a)(1)(A)(ii).

      DONE and ORDERED this 29th day of June, 2017.



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                                            STACI G. CORNELIUS
                                            U.S. MAGISTRATE JUDGE
